JS 44 (Rev. 04/21)

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet.

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS
United States

of America

State of Marvland

(b) County of Residence of First Listed Plaintiff

DEFENDANTS
UnitedHealth Group Incorporated

Amedisvs. Inc

County of Residence of First Listed Defendant Minnetonka. MN

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)
Erin K. Murdock-Park, U.S. DOJ Antitrust Division

450 5th St. NW, Washington, DC 20530, (202)-445-8082

(IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

Attorneys (If Known)
Matt Reilly, Kirkland & Ellis
1301 Pennsylvania Ave, NW, Washington, DC 20004

Il. BASIS OF JURISDICTION (Place an “X” in One Box Only)

Il

. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

(For Diversity Cases Only) and One Box for Defendant)
[x]1 U.S. Government []3 Federal Question PTF DEF PIF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State oO 1 Oo 1 Incorporated or Principal Place CO 4 C4
of Business In This State
L)2 U.S. Government C4 Diversity Citizen of Another State oO 2 O 2 Incorporated and Principal Place OC 5 Os
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a oO 3 O 3 Foreign Nation OC 6 Le
Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Only) Click here for:
| CONTRACT TORTS FORFEIT ALTY BANKR
110 Insurance PERSONAL INJURY PERSONAL INJURY T 625 Drug Related Seizure 422 Appeal 28 USC 158 TC 375 False Claims Act
120 Marine 310 Airplane OC 365 Personal Injury - of Property 21 USC 881 423 Withdrawal |_| 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | _]690 Other 28 USC 157 i 3729%a))
140 Negotiable Instrument Liability O 367 Health Care/ INTELLECTUAL 400 State Reapportionment
150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RI x}! 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights |_| 430 Banks and Banking
H 151 Medicare Act | 330 Federal Employers’ Product Liability 830 Patent |_| 450 Commerce
152 Recovery of Defaulted Liability CT 368 Asbestos Personal 835 Patent - Abbreviated |_| 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application |} 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability |] 840 Trademark Corrupt Organizations
[_] 153 Recovery of Overpayment Liability PERSONAL PROPERTY ee [| 880 Defend Trade Secrets |_] 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
H's Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act | 485 Telephone Consumer
190 Other Contract Product Liability 380 Other Personal T1720 Labor/Management | SOCIAL SECURITY _| Protection Act
195 Contract Product Liability | 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury OC 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
| 362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) |_ Exchange
Medical Malpractice Leave Act 864 SSID Title XVI L_| 890 Other Statutory Actions
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS | _|790 Other Labor Litigation | 865 RSI (405(g)) | 891 Agricultural Acts
= Land Condemnation 440 Other Civil Rights Habeas Corpus: | 791 Employee Retirement 893 Environmental Matters
220 Foreclosure 441 Voting TC 463 Alien Detainee Income Security Act ts. 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment |_| 510 Motions to Vacate | 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations 530 General l | 871 IRS—Third Party -| 899 Administrative Procedure
290 All Other Real Property | 445 Amer. w/Disabilities -[__| 535 Death Penalty IMMIGRATION 26 USC 7609 Act/Review or Appeal of
Employment |_ Other: 462 Naturalization Application Agency Decision
| 446 Amer. w/Disabilities -[|__] 540 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other |_| 550 Civil Rights Actions State Statutes
| 448 Education |_| 555 Prison Condition
|_| 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X” in One Box Only)
kK] 1 Original 2 Removed from 3 Remanded from oO 4 Reinstated or O 5 Transferred from 6 Multidistrict 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

VI. CAUSE OF ACTION

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
15 U.S.C. 18, 15 U.S.C. 18a, 15 U.S.C. 25

Brief description of cause:

Violation of Section 7 of the Clayton Actin hundreds of home health, hospice, and labor markets; violation of HSR Act

VII. REQUESTED IN

C1 CHECK IF THIS IS A CLASS ACTION

DEMAND $ CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, F.R.Cv.P. Injunctive & Penalties JURY DEMAND: Llyes []No
VIII. RELATED CASK(S)
‘See instructions):
IF ANY ( tions) SUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
11/12/2024 /s/ Erin K. Murdock-Park
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

